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                           UNITED STATES DISTRICT COURT
12
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14    UNITED STATES OF AMERICA,         )   No. CR 07-1048-VBF
                                        )
15                Plaintiff,            )   GOVERNMENT’S POSITION RE:
                                        )   PRESENTENCE REPORT AND
16                   v.                 )   SENTENCING FACTORS
                                        )
17    JAMES LANZO TURNER IV,            )   DATE: April 20, 2009
                                        )   TIME: 10:00 a.m.
18                Defendant.            )   PLACE: Courtroom of the Hon.
                                        )          Valerie Baker Fairbank
19                                      )
                                        )
20
21         Plaintiff, United States of America, through its attorney of

22   record, the United States Attorney’s Office for the Central

23   District of California, hereby files the Government’s Position

24   re: Presentence Report and Sentencing Factors.          The government’s

25   position is based upon the concurrently-filed memorandum of

26   points and authorities, the files and records of this case, the

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 1   Presentence Report, and any evidence or argument presented at the
 2   hearing in this matter.
 3
     Date: April 6, 2009          THOMAS P. O’BRIEN
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 1                                        I
 2                      INTRODUCTION AND RECOMMENDATION
 3         Defendant James Lanzo Turner VI ("Turner") is before the
 4   court for sentencing after pleading guilty to Count One of an
 5   Indictment that charged him with Conspiracy to Distribute Heroin,
 6   in violation of Title 21, United States Code, Sections 846,
 7   841(a)(1), and 841(b)(1)(B)(i).        This charge carries a mandatory
 8   minimum term of imprisonment of 60 months, followed by at least 4
 9   years of supervised release.
10         As discussed below, Turner's offense level is 23 and his
11   criminal history category is IV, resulting in an advisory
12   guidelines range of 70 to 87 months imprisonment.           The United
13   States Probation Office ("Probation Office") recommends a
14   sentence of 84 months imprisonment.         In Turner's plea agreement,
15   the parties stipulated that the appropriate sentence in this case
16   would be 84 months.     Thus, the government respectfully recommends
17   a sentence of 84 months imprisonment, followed by a 4-year term
18   of supervised release.
19                                        II
20                                      FACTS1
21         Beginning in January 2006, and continuing until February 5,
22   2006, Turner, co-defendants David Cole, Jr., Charles Leroy
23   Twyman, Lashawn Andrea Lynch, and Mike LNU, and other persons
24   entered into an agreement to possess with intent to distribute
25   and distribute heroin.      (PSR ¶ 10.)     In furtherance of this
26
27         1
               Except as otherwise noted, pursuant to
     Rule 32(i)(3)(A), the government respectfully requests the Court
28   accept the “undisputed portion[s] of the presentence report as a
     finding of fact.”

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 1   conspiracy, Turner and Charles Leroy Twyman arranged for Mike LNU
 2   to provide approximately 239 grams of heroin to Cole, who would
 3   in turn provide the drug to Lynch.        (PSR ¶¶ 12-14.)     Turner
 4   instructed Charles Leroy Twyman to obtain an airplane ticket for
 5   Lynch in Los Angeles County, for travel from Los Angeles to
 6   Memphis, Tennessee, where Turner lived.         (PSR ¶ 11.)    On
 7   January 29, 2006, Turner told Charles Leroy Twyman that they
 8   could make $15,000 to $30,000 selling heroin in Memphis,
 9   Tennessee.    (PSR ¶ 13.)    Turner also instructed Charles Leroy
10   Twyman to give Lynch $100 and some cocaine (2.58 grams) to calm
11   her nerves.    (PSR ¶ 16.)
12         Cole obtained the approximately 239 grams of heroin and on
13   February 3, 2006, at Turner's request, Cole gave approximately
14   239 grams of heroin to Lynch.       (PSR ¶ 15.)     However, before Lynch
15   could deliver the heroin to Turner, she was arrested at Los
16   Angeles International Airport.       (PSR ¶ 16-17.)
17         Following Lynch's arrest and the seizure of the 239 grams of
18   heroin, Turner told Charles Leroy Twyman on the telephone that
19   Charles Leroy Twyman needed to get Lynch out of jail.           (PSR
20   ¶ 20.)   Turner also related that he was trying to get money
21   together to give to his heroin supplier.
22                                       III
23                 FACTUAL CORRECTIONS TO PRESENTENCE REPORT
24         The government does not have any factual corrections to the
25   Presentence Report.
26                                        IV
27                    THE SENTENCING GUIDELINE CALCULATION
28         The government concurs with the offense level calculation in


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 1   the PSR, which calculates an offense level of 23.           The government
 2   concurs with the criminal history calculation provided in the
 3   PSR, which places Turner in criminal history category IV.            (PSR
 4   ¶¶ 41-78.)    Based on an offense level of 23 and criminal history
 5   category of IV, Turner's guidelines range is 70 to 87 months.
 6   See U.S.S.G. § 5A.
 7         The government also concurs with the Probation Office's
 8   conclusion that a role adjustment is not appropriate.           (See
 9   PSR ¶ 31.)    The government agrees that, by negotiating and
10   carrying out the distribution of heroin, Turner played an
11   integral and necessary role that forecloses any assertion that he
12   had a minor or mitigating role.
13         In paragraph 13 of the plea agreement, both the government
14   and Turner agreed that,
15         an appropriate disposition of this case is that the
           court impose a sentence of 84 months imprisonment; 4
16         years supervised release (with conditions to be fixed
           by the Court); no fine; $100 special assessment; and no
17         restitution. The parties also agree that no prior
           imprisonment (other than credits that he Bureau of
18         Prisons may allow under 18 U.S.C. § 3585(b)) may be
           credited against this stipulated sentence, including
19         credit under Sentencing Guideline 5G1.3.
20   This agreed upon sentence falls squarely near the top of the
21   applicable Sentencing Guidelines range.         Further, the Probation
22   Office recommends this sentence.
23         Accordingly, the government respectfully requests that the
24   Court find that the appropriate offense level for Turner is 23,
25   find the criminal history category is IV, and sentence Turner to
26   the above terms.
27
28


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 1                                        V
 2          CONSIDERATION OF THE SECTION 3553 FACTORS AFTER BOOKER
 3   A.     The Sentencing Guidelines After Booker
 4          Under the Sentencing Reform Act as modified by United States
 5   v. Booker, 543 U.S. 220 (2005), this Court must analyze and
 6   consider the Guideline factors before imposing sentences in
 7   federal criminal cases.      543 U.S. at 259, 261 (noting that
 8   Sentencing Reform Act “nonetheless requires judges to take
 9   account of the Guidelines together with other sentencing goals”);
10   see also United States v. Cantrell, 433 F.3d 1269, 1279 (9th Cir.
11   2006) (noting that the “[c]ontinuing duty of district courts to
12   consult the Guidelines is statutory”).         In United States v.
13   Carty, 520 F.3d 984 (9th Cir. 2008) (en banc), the United States
14   Court of Appeals for the Ninth Circuit declined to adopt a
15   presumption of reasonableness for appellate review of
16   within-Guideline sentences, but it stated that “normally” a
17   Guideline sentence will not be found unreasonable on appeal.             520
18   F.3d at 988.
19          In Carty, the Ninth Circuit went on to provide a detailed
20   framework for federal sentencing.        This Court must begin by
21   determining the applicable guideline range - this range is a
22   “starting point” and “initial benchmark.”         Carty, 520 F.3d at
23   991.   This Court must then ensure that the parties have an
24   opportunity to argue for the sentence that they believe is
25   appropriate.    See id.    This Court must also consider Section
26   3553(a) in conjunction with these arguments.          See id.   This Court
27   cannot presume that a Guideline sentence is reasonable and cannot
28   give the Guidelines more or less weight than the other 3553(a)


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 1   factors.    See id.   The sentencing must be an “individualized”
 2   determination.     See id.   Importantly, in deciding the extent of
 3   any proposed departure or variance from the Guideline range, this
 4   Court must consider whether the justification is sufficiently
 5   compelling to support the degree of the variance.           See id.   The
 6   greater the variance, the more persuasive the justification
 7   should be “because other values reflected in Section 3553(a) -
 8   such as, for example, unwarranted disparity” counsel against the
 9   variance.    See id. at 991-92.     Also importantly, this Court must
10   provide enough of an explanation to enable meaningful appellate
11   review, and this will vary depending upon the complexity of the
12   case.    See id. at 992.
13   B.    Consideration of the 3553(a) Factors
14           The applicable Sentencing Guidelines range, while not
15   definitive, provides the starting point for finding a reasonable
16   sentence and must then be considered with the factors set forth
17   in Section 3553(a).     See Cantrell, 433 F.3d at 1279.        “To comply
18   with the requirements of Booker, the district court must have
19   sufficiently considered the Guidelines as well as the other
20   factors listed in § 3553(a).       This requirement does not
21   necessitate a specific articulation of each factor separately,
22   but rather a showing that the district court consider the
23   statutorily-designated factors in imposing a sentence.”            United
24   States v. Nichols, 464 F.3d 1117, 1125 (9th Cir. 2006) (quoting
25   United States v. Knows His Gun, 438 F.3d 913, 918 (9th
26   Cir. 2006)).    In the preceding and following pages of this brief,
27   the government has detailed the facts it believes are relevant to
28   Valdez's sentencing.


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 1          1.    Nature and Circumstances of the Offense and History and
 2                Characteristics of Defendant
 3          As detailed above and in the PSR, Turner helped traffic
 4   approximately 239 grams of heroin.         By doing so, Turner
 5   trafficked one of the most dangerous drugs available today.
 6   Further, because of Turner's level of involvement in the drug
 7   transaction, he does not qualify for any role adjustment.
 8          As described in the PSR, Turner has had interactions with
 9   law enforcement spanning more than 40 years.          Of those
10   interactions, three resulted in convictions that count toward his
11   criminal history category:
12          (1)   February 1990, felony convictions for conspiracy to aid
13   and abet the distribution of cocaine and distribution of cocaine
14   in the United States District Court for the District of New
15   Mexico, for which Turner received a sentence of 156 months
16   imprisonment followed by 5 years supervised release (PSR ¶¶ 56-
17   60);
18          (2)   October 2001, misdemeanor conviction for being driving
19   under the influence of alcohol in the Los Angeles Superior Court,
20   for which he received a sentence of 36 months probation and a
21   fine (PSR ¶¶ 61-63); and
22          (3)   December 2007, felony conviction for Possession of a
23   narcotic controlled substance, in the Los Angeles Superior Court,
24   for which he received a sentence of 24 months, which the state
25   court authorized to run concurrent with the sentence imposed by
26   this Court (PSR ¶¶ 64-66).
27          Among the other offenses committed by Turner that are not
28   included in the calculation of his criminal history are three


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 1   additional felony drug convictions:
 2           (1)   May 1976, felony conviction for possession of a
 3   narcotic controlled substance for sale, in the Los Angeles
 4   Superior Court, for which he received a sentence of 5 years
 5   probation.     In 1984, the superior court revoked Turner's
 6   probation and sentenced him to state prison for a term of 5 to 15
 7   years (PSR ¶ 51);
 8           (2)   February 1983, felony convictions for possession of
 9   cocaine in jail and the unauthorized possession of drugs in
10   prison in the Los Angeles Superior Court, for which he received
11   sentences of three and two years in prison, respectively (PSR
12   ¶ 53);
13           (3)   February 1984, felony conviction for possession of a
14   controlled substance in the Los Angeles Superior Court, for which
15   he received a sentence of two years in prison2 (PSR ¶ 54); and
16           (4)   December 1985, felony conviction for possession of a
17   narcotic controlled substance for sale, in the Los Angeles
18   Superior Court, for which he received a sentence of four years
19   imprisonment (PSR ¶ 55).
20           The PSR also notes that Turner has drug charges pending in
21   Indiana, which he must address after sentencing in the instant
22   case.
23           Given the above convictions, as well as other convictions
24   and interactions with law enforcement enumerated in the PSR, a
25   sentence of 84 months imprisonment is appropriate.           An 84-month
26   sentence also reflects the nature and circumstances of the
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               Turner also was convicted of being a felon in
28   possession, in the Los Angeles Superior Court, where he received
     a sentence of two years. (PSR ¶ 54.)

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 1   offense and the history and characteristics of Turner.
 2         2.    Need to Reflect the Seriousness of the Offense
 3         Trafficking approximately 239 grams of heroin is a serious
 4   offense.    What also is troubling is that Turner's history of
 5   selling drugs despite multiple incarcerations, including his last
 6   significant incarceration following the cocaine-trafficking
 7   conviction.     Thus, a sentence of 84 months imprisonment reflects
 8   the seriousness of the offense.
 9         3.    Deterrence of Criminal Conduct
10         As detailed above and in the PSR, Turner has served a
11   significant portion of his life in prison for drug trafficking.
12   Yet, these lengthy periods of incarceration do not seem to deter
13   him from continuing to traffic drugs.         Now at 64 years of age,
14   Turner faces yet another term of imprisonment for his drug-
15   trafficking activities.       The government hopes that a sentence of
16   84-months – a sentence near the high end of the applicable
17   Sentencing Guidelines range – will adequately deter Turner and
18   others from future criminal conduct.
19         4.    Need to Protect the Public
20         The public needs to be protected from individuals, like
21   Turner, who traffic heroin.       A sentence of 84 months imprisonment
22   will protect the public and deter Turner from future criminal
23   conduct.
24         5.    Need to Provide Defendant with Education
25         The need to provide a defendant with education and
26   vocational skills, while important in most contexts, must be
27   placed in a subordinate position to the important considerations
28   of deterrence, protection of the public and the need for the


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 1   sentence to reflect the seriousness of the offense.            See United
 2   States v. Wilson, 350 F. Supp. 2d 910, 921-22 (D. Utah Jan. 13,
 3   2005) (noting that legislative history of Sentencing Reform Act
 4   demonstrates that Congress intended to place rehabilitation as
 5   secondary consideration where serious crimes involved).            Turner
 6   will have access to many programs in the prison system to which
 7   he can avail himself.      Neither the presence nor absence of any
 8   further educational programs should weigh heavily in this Court’s
 9   sentencing determination.
10         6.    Need to Avoid Unwarranted Disparity in Sentences
11         Finally, a sentence in accordance with the Guidelines also
12   properly accounts for “the need to avoid unwarranted sentence
13   disparities among defendants with similar records who have been
14   found guilty of similar conduct.”         18 U.S.C. § 3553(a)(6).
15   Numerous courts have recognized that the guidelines range serves
16   as a bulwark against sentencing disparity.          See United States v.
17   Guerrero-Velasquez, 434 F.3d 1193, 1195 n.1 (9th Cir. 2006)
18   (recognizing that guidelines “help to maintain uniformity in
19   sentencing throughout the country”); United States v. Hunt, 459
20   F.3d 1180, 1184 (11th Cir. 2006) (“The Guidelines . . . are an
21   indispensable tool in helping courts achieve Congress’s mandate
22   to consider ‘the need to avoid unwarranted sentence disparities’
23   among similarly situated defendants.”) (quoting 18 U.S.C.
24   § 3553(a)(6)); United States v. Smith, 445 F.3d 1, 7 (1st Cir.
25   2006) (noting that “the guideline range . . . is the principal
26   means of complying with” the goal of avoiding unwarranted
27   sentencing disparity).
28         In this case, a sentence of 84 months of imprisonment is


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 1   fair and reasonable.      Further, it was a sentence that was
 2   negotiated at arms-length by the parties and included an
 3   agreement by the government not to file a Section 851
 4   enhancement, that would have imposed a 10-year mandatory minimum
 5   sentence.    Therefore, by imposing a sentence of 84 months, the
 6   Court can insure that there will be no disparity between Turner's
 7   sentence and that of any similarly situated defendant.
 8                                        VI
 9                                WAIVER OF APPEAL
10         In his plea agreement, Turner waived his right to appeal
11   this sentence, if the Court sentenced him to a sentence within
12   the statutory maximum of 40 years.         (Plea Agreement ¶ 20.)
13   Accordingly, if the Court chooses to advise Turner of his limited
14   appellate rights, the government respectfully requests that the
15   Court note on the record that Turner has waived most of his
16   appellate rights.
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 1                                        VII
 2                                    CONCLUSION
 3         For the reasons set forth above, the government respectfully
 4   requests that the Court sentence defendant to a sentence of 84
 5   months imprisonment.
 6
 7   Dated: April 6, 2009          Respectfully submitted,
 8                                 THOMAS P. O’BRIEN
                                   United States Attorney
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                                   CHRISTINE C. EWELL
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                                   Chief, Criminal Division
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                                   /s John J. Lulejian
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